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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK

 YIATIN CHU; CHINESE AMERICAN                               No. _____________________
 CITIZENS ALLIANCE OF GREATER
 NEW YORK; INCLUSIVE EDUCATION
 ADVOCACY GROUP; and HIGHER WITH
 OUR PARENT ENGAGEMENT,

                                Plaintiffs,

                        v.

 BETTY A. ROSA, in her official capacity as
 Commissioner of Education for the State of
 New York,

                                Defendant.


                              DECLARATION OF YI FANG CHEN


       I, Yi Fang Chen, declare as follows:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to truthfulness under oath. As to those matters that reflect a

matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am an Asian-American resident of New York State.

       3.      I am a member of Higher with Our Parent Engagement.

       4.      My child, M.P., is Asian American and a resident of New York State.

       5.      M.P. is enrolled in 6th grade, is in good academic standing, has an overall GPA

above 80, and a GPA above 80 in math and science.

       6.      M.P. is interested in applying for admission to the Science and Technology Entry

Program (STEP) session at New York University for fall 2024.



                                                  1                                    Exhibit C
                   Case 1:24-cv-00075-DNH-CFH Document 1-3 Filed 01/17/24 Page 2 of 2
                                                                                       e threshold to be
       7.        Becaus·e M.P. is Asian American, he must satisfy a family incom

eligible to appl for this program.
                                                                                instea       d was
                  It ism understanding that if M.P. was not Asian American, but
                                                                                         le to apply
black, Hi panic,      ative American, or Alaskan Native, then M.P. would be eligib

r gardless of our fami ly's income.
                                                                                          te against
        9.         I believe that the STEP student eligibility requirements discrimina

 A ian-American applicants like M.P. because of his race.
                                                    ***

                                                                                 correct. Executed on this
            I declare unde r penalty of perjury that the foregoing is true and

 16th day of January, 2024, at New York, New York.




                                                                                          Exhibit C
